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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                                      CRIMINAL ACTION NO. 2:99-00198-05

LEONARD ANDREW SAYLES,

                                 Defendant.


                     MEMORANDUM OPINION AND JUDGMENT ORDER

          Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for standard consideration.

          The Court has received and considered the original Presentence Investigation Report (PSR),

original Judgment and Commitment Order and Statement of Reasons, addendum to the PSR from

the Probation Office, and any materials submitted by the parties on this issue. The Court has also

considered the applicable factors under 18 U.S.C. § 3553(a), consistent with 18 U.S.C. § 3582(c)(2),

and public safety.

          By its written and filed response, the United States does not object to the reduction ordered

herein.
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       Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by 2 levels, resulting in a new total offense level of 34

for Counts One, Seven, and Ten of the indictment. The mandatory consecutive term of 60 months’

imprisonment applicable to Count Eleven of the indictment is not subject to reduction in this motion.

Therefore, it is ORDERED that Defendant’s previous sentence be reduced to a period of 211

months, with credit for time served to date. The revised term of imprisonment represents the total

term for all counts: 151 months for Counts One, Seven, and Ten, and 60 months for Count Eleven.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshals.

                                              ENTER:          July 11, 2011
